Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 1 of 23 PageID #: 440
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 2 of 23 PageID #: 441
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 3 of 23 PageID #: 442
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 4 of 23 PageID #: 443
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 5 of 23 PageID #: 444
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 6 of 23 PageID #: 445
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 7 of 23 PageID #: 446
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 8 of 23 PageID #: 447
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 9 of 23 PageID #: 448
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 10 of 23 PageID #: 449
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 11 of 23 PageID #: 450
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 12 of 23 PageID #: 451
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 13 of 23 PageID #: 452
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 14 of 23 PageID #: 453
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 15 of 23 PageID #: 454
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 16 of 23 PageID #: 455
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 17 of 23 PageID #: 456
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 18 of 23 PageID #: 457
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 19 of 23 PageID #: 458
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 20 of 23 PageID #: 459
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 21 of 23 PageID #: 460




     SIGNED this 23rd day of January, 2008.




                                              ___________________________________
                                              CHARLES EVERINGHAM IV
                                              UNITED STATES MAGISTRATE JUDGE
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 22 of 23 PageID #: 461
Case 2:06-cv-00528-CE Document 64 Filed 01/23/08 Page 23 of 23 PageID #: 462
